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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

  SAMUEL & STEIN
  David Stein (DS 2119)
  David Nieporent (DN 9400)
  38 West 32nd Street
  Suite 1110
  New York, New York 10001
  (212) 563-9884

  Attorneys for Plaintiffs, Individually
  and on behalf of all others similarly
  situated

   Weigang Wang and Hailong Yu,
   on behalf of themselves and
   all other persons similarly
   situated,                               DOCKET NO. 15-CV-______

                    Plaintiffs,                     COMPLAINT

                - vs. –

   Chapei LLC d/b/a Wok Empire,
   Cha Lee Lo, and John Does #1-
   10,

                    Defendants.

        Plaintiffs Weigang Wang and Hailong Yu, by and through

  their undersigned attorneys, for their complaint against

  defendants Chapei LLC d/b/a Wok Empire, Cha Lee Lo, and

  John Does #1-10, allege as follows, on behalf of themselves

  individually and on behalf of all other persons similarly

  situated:
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                            NATURE OF THE ACTION

        1.        Plaintiffs Weigang Wang and Hailong Yu allege on

  behalf     of    themselves     and   on   behalf    of   other    similarly

  situated current and former employees of defendants Chapei

  LLC d/b/a Wok Empire, Cha Lee Lo, and John Does #1-10, who

  elect to opt into this action pursuant to the Fair Labor

  Standards Act (“FLSA”), 29 U.S.C. § 216(b), that they are

  entitled to: (i) compensation for wages paid at less than

  the   statutory       minimum     wage,     (ii)    unpaid       wages    from

  defendants for overtime work for which they did not receive

  overtime        premium   pay    as   required      by    law,    and    (iii)

  liquidated damages pursuant to the FLSA, 29 U.S.C. §§ 201

  et seq., because defendants’ violations lacked a good faith

  basis.

        2.        Mr. Wang and Mr. Yu further complain that they

  are entitled to (i) compensation for wages paid at less

  than the statutory minimum wage and (ii) back wages for

  overtime work for which defendants willfully failed to pay

  overtime premium pay as required by the New Jersey Wage and

  Hour Law.

                                  THE PARTIES

        3.        Plaintiff Mr. Weigang Wang is an adult individual

  residing at 4255 Colden Street, Apt 5S, Flushing, NY 11355.




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         4.     Plaintiff Mr. Hailong Yu is an adult individual

  residing at 4255 Colden Street, Apt 5S, Flushing, NY 11355.

         5.     Plaintiffs Mr. Wang and Mr. Yu consent in writing

  to    be    parties   to    this      action    pursuant    to    29    U.S.C.   §

  216(b);      Mr.   Wang’s    and      Mr.    Yu’s     written     consents    are

  attached hereto and incorporated by reference.

         6.     Upon    information       and     belief,    defendant       Chapei

  LLC, d/b/a Wok Empire (“Chapei”) is a New Jersey limited

  liability company with a principal place of business at 400

  Foothill Road, Bridgewater, New Jersey.

         7.     At all relevant times, defendant Chapei has been,

  and   continues       to   be,   an    employer       engaged    in    interstate

  commerce and/or the production of goods for commerce within

  the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

         8.     Upon    information       and     belief,    at     all    relevant

  times, defendant Chapei has had gross revenues in excess of

  $500,000.00.

         9.     Upon    information       and     belief,    at     all    relevant

  times,       defendant     Chapei      has     used    goods     and    materials

  produced in interstate commerce, and has employed two or

  more individuals who handled such goods and materials.

         10.    Upon information and belief, defendant Cha Lee Lo

  is an owner or part owner and principal of Chapei, and has




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  the   power    to   hire    and     fire    employees,     set    wages     and

  schedules, and retain their records.

        11.     Defendant Cha Lee Lo was involved in the day-to-

  day   operations    of     Chapei     and   played    an   active    role    in

  managing the businesses.

        12.     Upon information and belief, defendants John Does

  #1-10   represent     the    other     owners,       officers,    directors,

  members, and/or managing agents of Chapei, whose identities

  are unknown at this time, who participated in the day-to-

  day operations of Chapei, who have the power to hire and

  fire employees, set wages and schedules, and maintain their

  records.

        13.     Defendants constituted “employers” of plaintiffs

  as that term is used in the Fair Labor Standards Act and

  New Jersey Wage and Hour Law.

                           JURISDICTION AND VENUE

        14.     This Court has subject matter jurisdiction over

  this matter pursuant to 28 U.S.C. §§ 1331 and 1337 and

  supplemental     jurisdiction       over    Mr.   Wang’s    and     Mr.   Yu’s

  state   law    claims      pursuant    to    28   U.S.C.    §    1367.       In

  addition, the Court has jurisdiction over Mr. Wang’s and

  Mr. Yu’s claims under the FLSA pursuant to 29 U.S.C. §

  216(b).




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         15.   Venue is proper in this district pursuant to 28

  U.S.C. § 1391 because defendants’ business is located in

  this district.

                          COLLECTIVE ACTION ALLEGATIONS

         16.   Pursuant to 29 U.S.C. § 206 and § 207, Mr. Wang

  and    Mr.   Yu    seek       to   prosecute    their    FLSA    claims     as   a

  collective action on behalf of all persons who are or were

  employed by defendants in the United States at any time

  since April 22, 2012, to the entry of judgment in this case

  (the    “Collective           Action   Period”),     who    were      non-exempt

  employees within the meaning of the FLSA, and who were not

  paid statutory minimum wages and/or overtime compensation

  at rates not less than one-and-one-half times the regular

  rate of pay for hours worked in excess of forty hours per

  workweek (the “Collective Action Members”).

         17.   The        Collective     Action     Members       are   similarly

  situated to Mr. Wang and Mr. Yu in that they were employed

  by defendants as non-exempt restaurant workers, and were

  denied payment at the statutory minimum wage and/or were

  denied premium overtime pay for hours worked beyond forty

  hours in a week.

         18.   They       are    further       similarly   situated      in   that

  defendants        had    a    policy   and    practice     of   knowingly    and




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  willfully       refusing       to   pay        them    the   minimum      wage   or

  overtime.

         19.     The exact number of such individuals is presently

  unknown, but is known by defendants and can be ascertained

  through appropriate discovery.

                                           FACTS

         20.     At all relevant times herein,                  defendants owned

  and    operated       a    group    of    Asian       restaurants    located     in

  various       ShopRite      supermarkets         in    New   Jersey,      including

  those located at 1 South Davenport St., Somerville, New

  Jersey; 318 Lloyd Road, Matawan, New Jersey; and Route 35 &

  Harmony Road, Middletown, New Jersey.

         21.     From approximately April 2012 until March 2015,

  Mr. Wang was employed by defendants as a cook.

         22.      From approximately August 2010 until July 2013,

  Mr. Yu was employed by defendants as a cook.

         23.     At    various    times,     plaintiffs        were   assigned     to

  various Chapei locations, including each of the Somerville,

  Matawan,       and        Middletown      locations;         defendants       would

  reassign plaintiffs to different locations after a period

  of approximately six months at one location.

         24.     Mr. Wang’s and Mr. Yu’s work was performed in the

  normal course of defendants’ business and was integrated

  into    the    business        of   defendants,        and   did    not    involve


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  executive responsibilities or the exercise of independent

  judgment about matters of business significance.

        25.    At all relevant times herein, Mr. Wang and Mr. Yu

  were employees engaged in commerce and/or in the production

  of   goods   for   commerce,     as   defined       in   the   FLSA   and   its

  implementing regulations.

        26.    Mr. Wang and Mr. Yu each regularly worked six

  days per week, approximately 9½ hours per day.

        27.    As a result, Mr. Wang and Mr. Yu each routinely

  worked an average of 57 hours per week.

        28.    Defendants did not provide a time clock, sign in

  sheet, or any other method for employees to track their

  time worked.

        29.    When plaintiff Wang was hired, he was paid at a

  fixed rate of $1,500 per month, regardless of the exact

  number of hours he worked; after approximately six months

  he received a raise to $1,900 per month, and in April 2014

  he received a final raise to $2,200 per month.

        30.    When plaintiff Yu was hired, he was paid at a

  fixed rate of $1,300 per month; over the next two years he

  received     periodic   raises    of      a   few    hundred    dollars     per

  month, until he was received a final raise to $2,200 per

  month in or about April 2012.




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         31.    As a result, at the outset of their employment

  each    plaintiff’s      effective      rate       of     pay    fell    below    the

  federal and state statutory minimum wage; in addition, Mr.

  Wang’s effective rate of pay fell below the state minimum

  wage for several months at the beginning of 2014.

         32.    In addition to their wages, Mr. Wang and Mr. Yu

  would    occasionally      receive      bonuses          at   the   discretion      of

  defendants      if    sales     revenues      of    the       restaurant       reached

  certain levels.

         33.    Plaintiffs       were   paid     once       per    month;    although

  plaintiffs      were    paid    by    check,       the    checks    were       regular

  business checks rather than payroll checks, and plaintiffs

  did not receive any paystubs with their pay.

         34.    Defendants willfully failed to pay Mr. Wang and

  Mr. Yu       the overtime “bonus” for hours worked beyond 40

  hours in a workweek, in violation of the FLSA, the New

  Jersey Wage & Hour Law, and the supporting federal and New

  Jersey regulations.

         35.    Upon     information      and    belief,          while    defendants

  employed Mr. Wang and Mr. Yu                  and the Collective Action

  members, and through all relevant time periods, defendants

  failed to maintain accurate and sufficient time records of

  employees’ hours worked, failed to provide such records to

  employees,      and    failed    to    post    or       keep    posted     a    notice


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  explaining       the    minimum          wage     and     overtime     pay      rights

  provided by the FLSA or New Jersey Wage and Hour Law.

        36.   Due to defendants’ deliberate failure to inform

  plaintiffs       and    the    Collective          Action       members    of      their

  rights   under        the    wage    and    hour        laws,    the   statutes       of

  limitations in these cases should be equitably tolled.

                                           COUNT I

              (Fair Labor Standards Act – Minimum Wage)

        37.   Plaintiffs,         on       behalf     of     themselves        and    all

  Collective        Action        members,           repeat,        reallege,          and

  incorporate by reference the foregoing allegations as if

  set forth fully and again herein.

        38.   At     all        relevant          times,     defendants        employed

  plaintiffs    and      the    Collective          Action    members       within     the

  meaning of the FLSA.

        39.   Defendants failed to pay a salary greater than

  the minimum wage to plaintiffs and the Collective Action

  members for all hours worked.

        40.   As    a    result       of    defendants’       willful       failure     to

  compensate plaintiffs and the Collective Action members at

  a rate at least equal to the federal minimum wage for each

  hour worked, defendants have violated the FLSA, 29 U.S.C.

  §§ 201 et seq., including 29 U.S.C. § 206.




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         41.   The foregoing conduct, as alleged, constitutes a

   willful violation of the FLSA within the meaning of 29

   U.S.C. § 255(a), and lacked a good faith basis within the

   meaning of 29 U.S.C. § 260.

         42.   Due   to   defendants’      FLSA    violations,       plaintiffs

   and the Collective Action members are entitled to recover

   from defendants their unpaid compensation plus liquidated

   damages,     reasonable       attorneys’       fees,   and        costs   and

   disbursements     of   this    action,     pursuant    to    29    U.S.C.   §

   216(b).

                                   COUNT II

             (New Jersey Wage and Hour Law – Minimum Wage)

         43.   Plaintiffs repeat, reallege, and incorporate by

   reference the foregoing allegations as if set forth fully

   and again herein.

         44.   At all relevant times, plaintiffs were employed

   by defendants within the meaning of the New Jersey Wage and

   Hour Law.

         45.   At relevant times, defendants had a policy and

   practice of paying plaintiffs at an hourly rate that was

   less than the statutory minimum wage pursuant to the New

   Jersey Wage and Hour Law.

         46.   Defendants willfully violated plaintiffs’ rights

   by failing to pay them wages in excess of the minimum wage


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   in violation of the New Jersey Wage and Hour Law § 34:11-

   56a1 et seq. and N.J.A.C. §12:56-3-1 et seq.

         47.   Defendants’ failure to pay                 plaintiffs wages in

   excess of the minimum wage was willful.

         48.   Due to defendants’ New Jersey Wage and Hour Law

   violations,      plaintiffs       are       entitled     to   recover      from

   defendants their unpaid minimum wages, interest, reasonable

   attorneys’ fees, and costs and disbursements of the action,

   pursuant to New Jersey Wage and Hour Law.

                                     COUNT III

                 (Fair Labor Standards Act - Overtime)

         49.   Mr. Wang and Mr. Yu, on behalf of themselves and

   all   Collective        Action    members,      repeat,       reallege,     and

   incorporate by reference the foregoing allegations as if

   set forth fully and again herein.

         50.   At    all      relevant      times,       defendants    employed

   plaintiffs    and    the   Collective        Action    members    within    the

   meaning of the FLSA.

         51.   At all relevant times, defendants had a policy

   and practice of refusing to pay compensation to plaintiffs

   and   the   Collective      Action      members   for     hours    worked    in

   excess of forty hours per workweek.

         52.   As   a   result      of   defendants’      willful    failure    to

   compensate plaintiffs and the Collective Action members at


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   a rate not less than one-and-one-half times the regular

   rate of pay for work performed in excess of forty hours per

   workweek,      defendants       have     violated,      and    continue   to

   violate, the FLSA, 29 U.S.C. §§ 201 et seq., including 29

   U.S.C. §§ 207(a)(1) and 215(a).

          53.   The foregoing conduct, as alleged, constitutes a

   willful violation of the FLSA within the meaning of 29

   U.S.C. § 255(a).

          54.   Due   to   defendants’         FLSA   violations,    plaintiffs

   and the Collective Action members are entitled to recover

   from   defendants       their     unpaid     overtime    compensation,    an

   additional equal amount as liquidated damages, interest,

   reasonable attorneys’ fees, and costs and disbursements of

   this action, pursuant to 29 U.S.C. § 216(b).

                                      COUNT IV

                (New Jersey Wage and Hour Law - Overtime)

          55.   Mr.   Wang     and    Mr.      Yu     repeat,    reallege,   and

   incorporate by reference the foregoing allegations as if

   set forth fully and again herein.

          56.   At all relevant times, Mr. Wang and Mr. Yu were

   employed by defendants within the meaning of the New Jersey

   Wage and Hour Law.

          57.   Defendants willfully violated Mr. Wang’s and Mr.

   Yu’s rights by failing to pay them overtime compensation at


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   rates not less than one-and-one-half times the regular rate

   of pay for each hour worked in excess of forty hours per

   workweek in violation of New Jersey Wage and Hour Law §

   34:11-56a1     et   seq.     and    New    Jersey      Administrative      Code

   N.J.A.C. §12:56-6.1.

          58.    Defendants’ failure to pay overtime was willful

   and intentional in violation of N.J.S.A. § 34:11-56a1 et

   seq. and N.J.A.C. §12:56-6.1.

          59.    Due to defendants’ New Jersey Wage and Hour Law

   violations, Mr. Wang and Mr. Yu are entitled to recover

   from    defendants      their       unpaid       overtime      compensation,

   interest,      reasonable      attorneys’        fees,     and     costs    and

   disbursements of the action.

                              PRAYER FOR RELIEF

          WHEREFORE, plaintiffs, on behalf of themselves and the

   Collective Action members, respectfully request that this

   Court grant the following relief:

            a.    Designation     of    this       action    as   a   collective

                  action   on    behalf       of    the     Collective     Action

                  members and prompt issuance of notice pursuant

                  to 29 U.S.C. § 216(b) to all similarly situated

                  members of an FLSA Opt-In Class, apprising them

                  of the pendency of this action, permitting them



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                 to assert timely FLSA claims in this action by

                 filing individual Consents to Sue pursuant to 29

                 U.S.C. § 216(b), and appointing plaintiffs and

                 their counsel to represent the Collective Action

                 members;

            b.   A    declaratory     judgment         that   the       practices

                 complained of herein are unlawful under the FLSA

                 and the New Jersey Wage and Hour Law;

            c.   An   injunction     against          defendants    and     their

                 officers,        agents,       successors,         employees,

                 representatives, and any and all persons acting

                 in concert with them, as provided by law, from

                 engaging    in    each    of   the     unlawful    practices,

                 policies, and patterns set forth herein;

            d.   A compensatory award of unpaid compensation, at

                 the statutory overtime rate, due under the FLSA

                 and the New Jersey Wage and Hour Law;

            e.   Compensatory      damages      for    failure     to    pay   the

                 minimum wage pursuant to the FLSA and the New

                 Jersey Wage and Hour Law;

            f.   An award of liquidated damages as a result of

                 defendants’ willful failure to pay the minimum




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                 wage and overtime compensation pursuant to 29

                 U.S.C. § 216;

            g.   Back pay;

            h.   Punitive damages;

            i.   An     award     of   prejudgment    and   postjudgment

                 interest;

            j.   An award of costs and expenses of this action

                 together with reasonable attorneys’ and expert

                 fees; and

            k.   Such    other,    further,   and   different   relief   as

                 this Court deems just and proper.

   Dated:   April 23, 2015




                                   David Stein (DS 2119)
                                   David Nieporent (DN 9400)
                                   SAMUEL & STEIN
                                   38 West 32nd Street
                                   Suite 1110
                                   New York, New York 10001
                                   (212) 563-9884

                                   Attorneys for Plaintiffs




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                       EXHIBIT A




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